Case 2:18-cv-03466-DMG-SK Document 21-1 Filed 05/22/18 Page 1 of 35 Page ID #:1093



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        AHMED AL-RUMAIHI and AYMAN SABI
    9
   10                           UNITED STATES DISTRICT COURT
   11                          CENTRAL DISTRICT OF CALIFORNIA
   12
   13   BIG3 LLC, et al.                               No. 2:18-cv-03466-DMG (SKx)
   14                     Plaintiffs,                  Assigned for all purposes to
   15                                                  Hon. Dolly M. Gee
              v.
   16                                                  DECLARATION OF BRIAN D.
        AHMED AL-RUMAIHI, et al.                       HERSHMAN IN SUPPORT OF
   17                                                  OPPOSITION TO PLAINTIFFS’
                          Defendants.                  EX PARTE APPLICATION TO
   18                                                  COORDINATE PENDING
                                                       HEARINGS, CONTINUING THE
   19                                                  HEARING ON DEFENDANTS’
                                                       ANTI-SLAPP MOTION AND/OR
   20                                                  SPECIALLY SETTING A
                                                       BRIEFING AND HEARING
   21                                                  SCHEDULE FOR PLAINTIFFS’
                                                       MOTION TO LIFT DISCOVERY
   22                                                  STAY PURSUANT TO CCP
                                                       §425.16(g)
   23                                                  Hearing Date: June 15, 2018
   24                                                  Hearing Time: 9:30 a.m.
                                                       Courtroom:     8C
   25
   26         I, Brian D. Hershman, declare as follows:
   27         1.      I am a partner at the law firm of Jones Day, counsel of record for
   28   defendants Ahmed Al-Rumaihi and Ayman Sabi (together, the “Defendants”). I


                   DECLARATION OF BRIAN D. HERSHMAN IN SUPPORT OF OPPOSITION TO EX PARTE
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    1   make this declaration in support of the Defendants’ Opposition to Plaintiffs’ Ex
    2   Parte Application To Coordinate Pending Hearings, Continuing the Hearing on
    3   Defendants’ Anti-SLAPP Motion And/Or Specially Setting A Briefing and Hearing
    4   Schedule For Plaintiffs’ Motion To Lift Discovery Stay Pursuant To CCP
    5   §425.16(g). I have personal knowledge of the following facts and could and would
    6   competently testify thereto if called as a witness in this matter.
    7         2.      On Saturday May 19 at 7:37 p.m., Plaintiffs informed me that they
    8   intended to move for ex parte relief on Monday, May 21, seeking to postpone
    9   Defendants’ duly filed and scheduled Anti-SLAPP motion by a month. On Sunday,
   10   May 20, I responded and explained that the ex parte application was procedurally
   11   and substantively defective: (1) the Saturday night notice was deficient; (2) the
   12   discovery Plaintiffs sought was improper and irrelevant; and (3) the Court had
   13   already decided the briefing schedule on the Anti-SLAPP motion in its May 9 order
   14   on Plaintiffs’ first ex parte application. Attached hereto as Exhibit A is a true and
   15   correct copy of the email exchange with Plaintiffs’ counsel from Wednesday, May
   16   16, 2018 through Sunday, May 20, 2018.
   17         3.      On Wednesday, April 25, 2018, at 3:14 p.m., I called Plaintiffs’
   18   counsel, Mark Geragos, to meet and confer regarding the Defendants’ anticipated
   19   motion to strike under California Code of Civil Procedure section 425.16, et seq. I
   20   followed up on my voicemail with an email to Mr. Geragos that detailed
   21   Defendants’ substantive positions on the issues in their Anti-SLAPP Motion. A
   22   short email response from Mr. Geragos confirmed that Plaintiffs had received my
   23   messages that same day. Attached hereto as Exhibit B is a true and correct copy of
   24   the email exchange with Plaintiffs’ counsel from Wednesday, April 25, 2018
   25   through Saturday, April 28, 2018.
   26         4.      On May 17, 2018, Plaintiffs’ counsel stated in an email
   27   correspondence that it was “obvious” that they would need the discovery requested
   28   to oppose the Anti-SLAPP motion as early as April 25, 2018, when Defendants

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    1   notified Plaintiffs of their intent to file the Anti-SLAPP motion. Attached hereto as
    2   Exhibit C is a true and correct copy of the email exchange with Plaintiffs’ counsel
    3   from Wednesday, May 16 through Thursday, May 17, 2018.
    4         Executed this 22nd day of May, 2018, at Los Angeles, California.
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    7                                          Brian D. Hershman
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                 DECLARATION OF BRIAN D. HERSHMAN IN SUPPORT OF OPPOSITION TO EX PARTE
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                          EXHIBIT A




                                  EXHIBIT A TO HERSHMAN DECLARATION
                                                            PAGE 004
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         VFKHGXOLQJFRQIOLFWV7KHUHLVQRUHDVRQ3ODLQWLIIVFRXOGQRWKDYHUHTXHVWHGWKH
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         3OHDVHOHWXVNQRZLI'HIHQGDQWVZLOOVWLSXODWHWRRXUSURSRVDORURIDQ\DOWHUQDWH
         SURSRVDOV,¶PDYDLODEOHWKLVDIWHUQRRQLI\RXZDQWWRKDYHDSKRQHFDOO,DP
         WUDYHOLQJWRPRUURZEXWFDQWU\WRDUUDQJHDFDOOLI\RXGHVLUH

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         ,IZHGRQ¶WKHDUIURP\RXZHZLOOSURFHHGZLWKDQH[SDUWHDSSOLFDWLRQRQ
         0RQGD\VHHNLQJWKHKHDULQJFRQWLQXDQFH

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         7KDQNV

         'DYLG

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                  2Q0D\DW30+HUVKPDQ%ULDQ'
                  EKHUVKPDQ#-RQHV'D\FRP!ZURWH

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                  /ŚĂǀĞďĞĞŶŝŶƚŚĞŽƵƌƚŽĨƉƉĞĂůƚŚŝƐĂĨƚĞƌŶŽŽŶĂŶĚƚŚĞǇƚĂŬĞǇŽƵƌ
                  ƉŚŽŶĞƐŽ/ĂŵũƵƐƚƐĞĞŝŶŐƚŚŝƐŵĞƐƐĂŐĞ͘

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                  Dƌ͘ůͲZƵŵĂŝŚŝƌĞŶĞǁƐŚŝƐŽĨĨĞƌƚŽƉƌŽǀŝĚĞǁƌŝƚƚĞŶŝŶƚĞƌƌŽŐĂƚŽƌǇ
                  ƌĞƐƉŽŶƐĞƐ͕ďƵƚŝƐŶŽƚǁŝůůŝŶŐƚŽĂƉƉĞĂƌĨŽƌĚĞƉŽƐŝƚŝŽŶďŽƚŚďĞĐĂƵƐĞŚĞŝƐ
                  ƵŶĂǀĂŝůĂďůĞ;ŝŶYĂƚĂƌͿĂŶĚŵŽƌĞĨƵŶĚĂŵĞŶƚĂůůǇďĞĐĂƵƐĞĂĚĞƉŽƐŝƚŝŽŶŝƐ
                  ŶŽƚǁĂƌƌĂŶƚĞĚ͘DŽƌĞŽǀĞƌ͕ĐŽŶƚƌĂƌǇƚŽǇŽƵƌƐƵŐŐĞƐƚŝŽŶ͕ĚĞĨĞŶĚĂŶƚƐĚŽ
                  ŶŽƚĐŽŶĐĞĚĞƚŚĂƚĂŶǇĚŝƐĐŽǀĞƌǇŝƐǁĂƌƌĂŶƚĞĚŝŶĐŽŶŶĞĐƚŝŽŶƚŽƚŚĞŶƚŝͲ
                  ^>WWŵŽƚŝŽŶ͘dŽƚŚĞĐŽŶƚƌĂƌǇ͕WůĂŝŶƚŝĨĨƐƐŚŽƵůĚŚĂǀĞŝŶǀĞƐƚŝŐĂƚĞĚƚŚĞ
                  ŵĞƌŝƚƐŽĨƚŚĞŝƌĐůĂŝŵďĞĨŽƌĞƚŚĞǇĨŝůĞĚĂŵĞƌŝƚůĞƐƐůĂǁƐƵŝƚĂŐĂŝŶƐƚDƌ͘ůͲ
                  ZƵŵĂŝŚŝĂŶĚDƌ͘^Ăďŝ͕ĂŵŽŶŐŽƚŚĞƌƐ͘dŚĞĨĂĐƚƚŚĂƚǇŽƵŶĞĞĚĚŝƐĐŽǀĞƌǇ
                  ƚŽĨŝŶĚ͞ĞǀŝĚĞŶƚŝĂƌǇƐƵƉƉŽƌƚĨŽƌǇŽƵƌĐůĂŝŵ͟ŚŝŐŚůŝŐŚƚƐǁŚǇƚŚĞůĂǁƐƵŝƚ
                  ƐŚŽƵůĚŶĞǀĞƌŚĂǀĞďĞĞŶďƌŽƵŐŚƚ͕ĂŶĚǁŚǇŝƚƐŚŽƵůĚŶŽǁďĞ
                  ĚŝƐŵŝƐƐĞĚ͘EŽƚǁŝƚŚƐƚĂŶĚŝŶŐƚŚĞĂďŽǀĞ͕ĂŶĚŝŶĂŐŽŽĚĨĂŝƚŚĞĨĨŽƌƚƚŽ
                  ƌĞƐŽůǀĞƚŚĞĚŝƐƉƵƚĞǁŝƚŚŽƵƚĐŽƵƌƚŝŶƚĞƌǀĞŶƚŝŽŶ͕ǁĞŵĂĚĞĂǀĞƌǇ
                  ŐĞŶĞƌŽƵƐŽĨĨĞƌƚŽŚĂǀĞDƌ͘ůͲZƵŵĂŝŚŝƌĞƐƉŽŶĚƚŽǁƌŝƚƚĞŶ
                  ŝŶƚĞƌƌŽŐĂƚŽƌŝĞƐ͘zŽƵĂƉƉĂƌĞŶƚůǇĂƌĞƌĞũĞĐƚŝŶŐƚŚŝƐŽĨĨĞƌ͘ƵƚƚŽďĞĐůĞĂƌ͕
                  WůĂŝŶƚŝĨĨƐŚĂǀĞŶŽƚĞƐƚĂďůŝƐŚĞĚĂŐŽŽĚĨĂŝƚŚďĂƐŝƐĨŽƌĂŶǇĚŝƐĐŽǀĞƌǇ͘

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                  tŝƚŚƌĞƐƉĞĐƚƚŽDƌ͘ůͲZƵŵĂŝŚŝ͛ƐƉƌĞƐĞŶĐĞŝŶYĂƚĂƌ͕ĂƐǁĞŚĂǀĞ
                  ŝŶĚŝĐĂƚĞĚƌĞƉĞĂƚĞĚůǇ͕Dƌ͘ůͲZƵŵĂŝŚŝŝƐĂĐŝƚŝǌĞŶŽĨYĂƚĂƌĂŶĚƌĞƐŝĚĞƐŝŶ
                  YĂƚĂƌ͘Dƌ͘<ǁĂƚŝŶĞƚǌ͛ƐƐƉĞĐƵůĂƚŝŽŶƚŚĂƚƐƵĐŚŝƐŶŽƚƚŚĞĐĂƐĞŝƐĂƐǁƌŽŶŐ
                  ĂƐŝƚŝƐŝŶĂĚŵŝƐƐŝďůĞ͘&ƵƌƚŚĞƌ͕ƚŚĞƌĞŝƐŶŽƚŚŝŶŐŶĞĨĂƌŝŽƵƐĂďŽƵƚŚŝƐƌĞƚƵƌŶ
                  ƚŽƚŚĞŽƵŶƚƌǇǁŚĞƌĞŚĞƌĞƐŝĚĞƐ͘ŶĚǇŽƵƌƐƵŐŐĞƐƚŝŽŶƚŚĂƚDƌ͘ůͲ
                  ZƵŵĂŝŚŝƐŽŵĞŚŽǁůĞĨƚƚŚĞhŶŝƚĞĚ^ƚĂƚĞƐƚŽĂǀŽŝĚďĞŝŶŐĚĞƉŽƐĞĚŝƐďŽƚŚ
                  ŵŝƐƚĂŬĞŶĂŶĚŶŽŶƐĞŶƐŝĐĂů͘Dƌ͘ůͲZƵŵĂŝŚŝƚƌĂǀĞůĞĚƚŽŚŝƐƌĞƐŝĚĞŶĐĞŝŶ
                  YĂƚĂƌďĞĨŽƌĞǇŽƵƌĞƋƵĞƐƚĞĚƚŽĚĞƉŽƐĞŚŝŵ͘dŚĞƚŝŵĞͲƐƉĂĐĞĐŽŶƚŝŶƵƵŵ
                  ďĞůŝĞƐǇŽƵƌĂƐƐĞƌƚŝŽŶ͘

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             dŚĂŶŬǇŽƵ͘

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            &ƌŽŵ͗ĂǀŝĚƌŝŬƐŽŶфĞƌŝŬƐŽŶΛŐĞƌĂŐŽƐ͘ĐŽŵх
            ^ĞŶƚ͗dŚƵƌƐĚĂǇ͕DĂǇϭϳ͕ϮϬϭϴϭ͗ϯϬWD
            dŽ͗,ĞƌƐŚŵĂŶ͕ƌŝĂŶ͘фďŚĞƌƐŚŵĂŶΛ:ŽŶĞƐĂǇ͘ĐŽŵх
            Đ͗ĞŶDĞŝƐĞůĂƐфŵĞŝƐĞůĂƐΛŐĞƌĂŐŽƐ͘ĐŽŵх
            ^ƵďũĞĐƚ͗ZĞ͗DĞĞƚĂŶĚŽŶĨĞƌƌĞŝŐϯŶƚŝͲ^ůĂƉƉĚŝƐĐŽǀĞƌǇ

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            +L%ULDQ

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            ,GRQ¶WPHDQWRSHVWHUEXW,¶PKRSLQJ\RXFDQJHWEDFNWRPH
            VRRQ,IZHQHHGWREULQJDPRWLRQDQGDSSOLFDWLRQZHZDQWWRGR
            VRDVVRRQDVSRVVLEOH7KDQNV

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                   HULNVRQ#JHUDJRVFRP!ZURWH

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                   :HGRQ¶WEHOLHYHWKDWLQWHUURJDWRULHVZRXOGEHVXIILFLHQW
                   $V\RXNQRZWKHLQIRUPDWLRQZHFRXOGH[SHFWWRHOLFLWYLD
                   LQWHUURJDWRULHVLVIDUOHVVFRPSUHKHQVLYHWKDQZKDWZH
                   FRXOGOHDUQLQHYHQDVKRUWGHSRVLWLRQ²HVSHFLDOO\JLYHQ
                   WKDWWKHUHZRXOGEHQRPHDQLQJIXORSSRUWXQLW\WRFKDOOHQJH
                   XQVXSSRUWDEOHREMHFWLRQVRUHYDVLYHUHVSRQVHV7KH
                   VKRUWFRPLQJRIZULWWHQGLVFRYHU\DUHHYHQJUHDWHULQWKLV
                   LQVWDQFHEHFDXVHWKHIDFWVZHVHHNWRGLVFRYHUDUHFRPSOH[
                   UHTXLULQJSURELQJTXHVWLRQLQJDQGIROORZXS

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                   %\RIIHULQJWRUHVSRQGWRLQWHUURJDWRULHVSURSRXQGHGWR0U
                   $O5XPDLKL\RXHIIHFWLYHO\FRQFHGHWKDWGLVFRYHU\
                   SURSRXQGHGWR0U$O5XPDLKLLVUHTXLUHGLQDLGRIRXU
                   RSSRVLWLRQWRWKHPRWLRQWRVWULNH:HDUHHQWLWOHGWR
                   FRQGXFWWKDWGLVFRYHU\LQDPHDQLQJIXOZD\

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                 :LWKUHJDUG\RXUFOLHQW
VUHWXUQWR4DWDU,QRWHWKDWD
                 GHSRVLWLRQDQGKHDULQJRQWKHPRWLRQFRXOGFHUWDLQO\ZDLW
                 XQWLOKLVUHWXUQ,W¶VDOVRSRVVLEOHWKDWZHFRXOGSURFHHGLQ
                 4DWDU%XWDVDWKUHVKROGPDWWHUFDQ\RXWHOOPHZKHQDQG
                 ZK\KHOHIWWKH86"&HUWDLQO\LWLVXQIDLUIRUDSDUW\WR
                 FUHDWHDQOHJXSZLWKUHVSHFWWRDQ$QWL6ODSSPRWLRQE\
                 PDNLQJKLPVHOIXQDYDLODEOHIRUGHSRVLWLRQ,WZDV
                 FHUWDLQO\IRUHVHHDEOHWKDWLQUHVSRQVHWRDQDQWLVODSS
                 PRWLRQP\FOLHQWVZRXOGVHHNWRGLVFRYHUDGPLVVLEOH
                 HYLGHQFHWRVXSSRUWLWVDOOHJDWLRQV%HFDXVH0U$O
                 5XPDLKLLVWKHEHVWVXLWHGGHSRQHQWDQGJLYHQRXUEHOLHI
                 ZDVWKDWKHZDVLQWKLVFRXQWU\LQGHILQLWHO\LWFRXOGDSSHDU
                 WKDWKHOHIWWKH86WRDYRLGEHLQJGHSRVHG

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                 8QGHUWKHFLUFXPVWDQFHVZHDVNDJDLQWKDW\RXSURSRVH
                 VROXWLRQVWKDWZRXOGDOORZXVWRFRQGXFWDVKRUW
                 DQGWDUJHWHGGHSRVLWLRQRI0U$O5XPDLKSULRUWRP\
                 FOLHQWVEHLQJFDOOHGXSRQWRSURYLGHHYLGHQWLDU\VXSSRUWIRU
                 WKHLUFODLPV

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                         Dƌ͘ůͲZƵŵĂŝŚŝŝƐƵŶĂǀĂŝůĂďůĞĨŽƌ
                         ĚĞƉŽƐŝƚŝŽŶĂƐŚĞŝƐŝŶYĂƚĂƌ;ǁŚĞƌĞŚĞ
                         ƌĞƐŝĚĞƐͿ͘DŽƌĞŽǀĞƌ͕ǁĞĚŽŶŽƚďĞůŝĞǀĞ
                         ĂĚĞƉŽƐŝƚŝŽŶŝƐǁĂƌƌĂŶƚĞĚ͘

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                         ,ŽǁĞǀĞƌ͕ŝŶĂŐŽŽĚĨĂŝƚŚĞĨĨŽƌƚƚŽ
                         ƌĞƐŽůǀĞƚŚĞĚŝƐƉƵƚĞ͕Dƌ͘ůͲZƵŵĂŝŚŝǁŝůů
                         ƌĞƐƉŽŶĚƚŽǁƌŝƚƚĞŶŝŶƚĞƌƌŽŐĂƚŽƌŝĞƐ;ŶŽ
                         ŵŽƌĞƚŚĂŶĨŝĨƚĞĞŶƚŽƚĂů͖ƐƵďƉĂƌƚƐĂŶĚ
                         ĐŽŵƉŽƵŶĚƋƵĞƐƚŝŽŶƐǁŝůůĐŽƵŶƚƚŽǁĂƌĚ

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                       ƚŚĞĨŝĨƚĞĞŶƚŽƚĂůƉƵƌƐƵĂŶƚƚŽ&ZWϯϯͿ
                       ůŝŵŝƚĞĚƚŽƚŚĞŝƐƐƵĞƐƌĂŝƐĞĚŝŶƚŚĞŶƚŝͲ
                       ^>WWŵŽƚŝŽŶ͘tĞĚŽŶŽƚďĞůŝĞǀĞƚŚĂƚ
                       ĚŝƐĐŽǀĞƌǇŝƐĂƉƉƌŽƉƌŝĂƚĞŽŶƚŚĞ
                       ũƵƌŝƐĚŝĐƚŝŽŶĂůŝƐƐƵĞƐĂƐĚŝǀĞƌƐŝƚǇ
                       ũƵƌŝƐĚŝĐƚŝŽŶƉƌĞƐĞŶƚƐĂůĞŐĂůƋƵĞƐƚŝŽŶĨŽƌ
                       ƚŚĞƌĞĂƐŽŶƐƐƚĂƚĞĚŝŶŽƵƌŽƉƉŽƐŝƚŝŽŶƚŽ
                       ƚŚĞĞǆƉĂƌƚĞĂƉƉůŝĐĂƚŝŽŶ͘

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                       tĞĂƌĞŶŽƚǁŝůůŝŶŐƚŽĐŽŶƚŝŶƵĞƚŚĞ
                       ŚĞĂƌŝŶŐŽŶƚŚĞŶƚŝͲ^>WWŵŽƚŝŽŶ͘Ɛ
                       ǁĞŚĂǀĞĐŽŶƐŝƐƚĞŶƚůǇƐƚĂƚĞĚ͕ƉƌŽŵƉƚ
                       ƌĞƐŽůƵƚŝŽŶŽĨƚŚĂƚŵŽƚŝŽŶŝƐĐŽŶƐŝƐƚĞŶƚ
                       ǁŝƚŚƚŚĞůĞŐŝƐůĂƚŝǀĞŝŶƚĞŶƚďĞŚŝŶĚƚŚĞ
                       ŶƚŝͲ^>WWƐƚĂƚƵƚĞ͘ĐĐŽƌĚŝŶŐůǇ͕ǁĞ
                       ƉƌŽƉŽƐĞƚŚĞĨŽůůŽǁŝŶŐƐĐŚĞĚƵůĞ͗

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                            ϭ͘WůĂŝŶƚŝĨĨƐƚŽƐĞƌǀĞǁƌŝƚƚĞŶ
                                    ŝŶƚĞƌƌŽŐĂƚŽƌŝĞƐƚŽDƌ͘ůͲ
                                    ZƵŵĂŝŚŝǀŝĂĞŵĂŝůƚŽ:ŽŶĞƐĂǇ
                                    ďǇĐůŽƐĞŽĨďƵƐŝŶĞƐƐŽŶ&ƌŝĚĂǇ͕
                                    DĂǇϭϴ͕ϮϬϭϴ͘

                            Ϯ͘Dƌ͘ůͲZƵŵĂŝŚŝƚŽƉƌŽǀŝĚĞŚŝƐ
                                    ƌĞƐƉŽŶƐĞƐĂŶĚŽďũĞĐƚŝŽŶƐƚŽƚŚĞ
                                    ǁƌŝƚƚĞŶŝŶƚĞƌƌŽŐĂƚŽƌŝĞƐďǇĞŵĂŝů
                                    ƚŽ'ĞƌĂŐŽƐΘ'ĞƌĂŐŽƐďǇĐůŽƐĞ
                                    ŽĨďƵƐŝŶĞƐƐŽŶdƵĞƐĚĂǇ͕DĂǇ
                                    ϮϮ͕ϮϬϭϴ͘

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                       WůĞĂƐĞůĞƚƵƐŬŶŽǁƚŚĞƉůĂŝŶƚŝĨĨƐ͛
                       ƉŽƐŝƚŝŽŶ͘dŚĂŶŬǇŽƵ͘

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                       &ƌŽŵ͗ĂǀŝĚƌŝŬƐŽŶ
                       фĞƌŝŬƐŽŶΛŐĞƌĂŐŽƐ͘ĐŽŵх
                       ^ĞŶƚ͗tĞĚŶĞƐĚĂǇ͕DĂǇϭϲ͕ϮϬϭϴϰ͗ϭϯ
                       WD
                       dŽ͗,ĞƌƐŚŵĂŶ͕ƌŝĂŶ͘
                       фďŚĞƌƐŚŵĂŶΛ:ŽŶĞƐĂǇ͘ĐŽŵх
                       Đ͗ĞŶDĞŝƐĞůĂƐ
                       фŵĞŝƐĞůĂƐΛŐĞƌĂŐŽƐ͘ĐŽŵх
                       ^ƵďũĞĐƚ͗ZĞ͗DĞĞƚĂŶĚŽŶĨĞƌƌĞŝŐϯ
                       ŶƚŝͲ^ůĂƉĚŝƐĐŽǀĞƌǇ

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                       

                       +L%ULDQ

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                       7KDQNVIRUJHWWLQJEDFNWRPH:H
                       VHHNDVKRUWDQGWDUJHWHGGHSRVLWLRQ
                       RI0UDO5XPDLKLKRXUVZRXOG
                       EHVXIILFLHQW,WFRXOGFRYHURXU
                       UHTXHVWHGMXULVGLFWLRQGLVFRYHU\DV
                       ZHOOLI\RXZHUHLQFOLQHGWRFKDQJH
                       \RXUSRVLWLRQRQWKDWLVVXH,¶P
                       KRSLQJ\RXZLOOVWLSXODWHWRVXFKD
                       GHSRVLWLRQLQDGYDQFHRIRXU
                       RSSRVLQJ\RXUFOLHQW¶VPRWLRQWR
                       VWULNHZKLFKZRXOGSUREDEO\UHTXLUH
                       DIXUWKHUFRQWLQXDQFHRIWKHKHDULQJ

                       

                       8QOHVV\RXDUHZLOOLQJWRVWLSXODWH
                       ,¶PKRSLQJZHFDQWDONWRGD\RU
                       WRPRUURZUHJDUGLQJRXUDUJXPHQW
                       WKDWJRRGFDXVHH[LVWVIRUVXFKD
                       GHSRSXUVXDQWWR&&3J

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                       7KDQNV

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                              2Q0D\DW
                              30+HUVKPDQ
                              %ULDQ'
                              EKHUVKPDQ#-RQHV'
                              D\FRP!ZURWH

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                              '$9,'
                                          
                                   EXHIBIT A TO HERSHMAN DECLARATION
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                            

                             &DQ\RXVHQGPHWKH
                             GLVFRYHU\\RX
                             SURSRVHWRWDNHVRZH
                             FDQFRQVLGHU

                             
                             
                             6HQWZLWK%ODFN%HUU\
                             :RUN
                             ZZZEODFNEHUU\FRP
                             

                             )URP'DYLG(ULNVRQ
                             HULNVRQ#JHUDJRVFRP!

                             'DWH:HGQHVGD\0D\
                             $0

                             7R+HUVKPDQ%ULDQ'
                             EKHUVKPDQ#-RQHV'D\
                             FRP!

                             &F%HQ0HLVHODV
                             PHLVHODV#JHUDJRVFRP
                             !

                             6XEMHFW0HHWDQG
                             &RQIHUUH%LJ$QWL6ODS
                             GLVFRYHU\

                             

                             +L%ULDQ

                             

                             +RSHIXOO\\RX
                             UHFHLYHGP\SKRQH
                             PHVVDJH$UH\RX
                             DYDLODEOHWRGD\WR
                             PHHWDQGFRQIHU
                             UHJDUGLQJRXUUHTXHVW
                             WREHDIIRUGHGDQ
                             RSSRUWXQLW\WR
                             FRQGXFWQDUURZO\
                             WDUJHWHGGLVFRYHU\LQ
                             VXSSRUWRIRXU
                             RSSRVLWLRQWR\RXU
                             FOLHQW¶VPRWLRQWR
                             VWULNH
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                            

                             David Erikson
                             
                             ORJRMSJ!
                             Historic Engine Co. No.
                             28
                             644 South Figueroa
                             Street
                             Los Angeles, California
                             90017-3411
                             Telephone (213) 625-
                             3900
                             Facsimile (213) 232-3255
                             www.Geragos.Com        

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                             

                             7KLVHPDLOLQFOXGLQJ
                             DWWDFKPHQWVFRQWDLQV
                             LQIRUPDWLRQWKDW
                             LVFRQILGHQWLDODQGLWPD\
                             EHSURWHFWHGE\WKH
                             DWWRUQH\FOLHQWDQG
                             RWKHUSULYLOHJHV7KLVH
                             PDLOLQFOXGLQJ
                             DWWDFKPHQWVFRQVWLWXWHV
                             QRQSXEOLFLQIRUPDWLRQ
                             LQWHQGHGWREHFRQYH\HG
                             RQO\WRWKHGHVLJQDWHG
                             UHFLSLHQWV,I\RXDUHQRW
                             DQLQWHQGHGUHFLSLHQW
                             SOHDVHGHOHWHWKLVHPDLO
                             LQFOXGLQJDWWDFKPHQWVDQG
                             QRWLI\PHE\UHWXUQPDLO
                             RUHPDLORUFDOOPHDW
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                             7KLVHPDLO
                             LQFOXGLQJDQ\
                             DWWDFKPHQWVPD\
                             FRQWDLQLQIRUPDWLRQ
                             WKDWLVSULYDWH
                             FRQILGHQWLDORU
                             SURWHFWHGE\DWWRUQH\
                             FOLHQWRURWKHU
                             SULYLOHJH,I\RX
                             UHFHLYHGWKLVHPDLOLQ
                             HUURUSOHDVHGHOHWHLW
                             IURP\RXUV\VWHP
                             ZLWKRXWFRS\LQJLW
                             DQGQRWLI\VHQGHUE\
                             UHSO\HPDLOVRWKDW
                             RXUUHFRUGVFDQEH
                             FRUUHFWHG

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                                EXHIBIT A TO HERSHMAN DECLARATION
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                               7KLVHPDLOLQFOXGLQJDQ\DWWDFKPHQWV
                               PD\FRQWDLQLQIRUPDWLRQWKDWLVSULYDWH
                               FRQILGHQWLDORUSURWHFWHGE\DWWRUQH\FOLHQW
                               RURWKHUSULYLOHJH,I\RXUHFHLYHGWKLVHPDLO
                               LQHUURUSOHDVHGHOHWHLWIURP\RXUV\VWHP
                               ZLWKRXWFRS\LQJLWDQGQRWLI\VHQGHUE\UHSO\
                               HPDLOVRWKDWRXUUHFRUGVFDQEH
                               FRUUHFWHG


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            FRQILGHQWLDORUSURWHFWHGE\DWWRUQH\FOLHQWRURWKHUSULYLOHJH,I\RXUHFHLYHGWKLV
            HPDLOLQHUURUSOHDVHGHOHWHLWIURP\RXUV\VWHPZLWKRXWFRS\LQJLWDQGQRWLI\
            VHQGHUE\UHSO\HPDLOVRWKDWRXUUHFRUGVFDQEHFRUUHFWHG


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                       EXHIBIT B




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&ROO\PRUH6WHSKDQLH-

6XEMHFW                            ):%LJ//&HWDOY$KPHG$O5XPDLKLHWDOFY0HHWDQG&RQIHURQ
                                    0RWLRQWR'LVPLVVDQG0RWLRQWR6WULNH


&ƌŽŵ͗ĞŶDĞŝƐĞůĂƐфŵĞŝƐĞůĂƐΛŐĞƌĂŐŽƐ͘ĐŽŵх
^ĞŶƚ͗^ĂƚƵƌĚĂǇ͕ƉƌŝůϮϴ͕ϮϬϭϴϭϬ͗ϮϴD
dŽ͗,ĞƌƐŚŵĂŶ͕ƌŝĂŶ͘фďŚĞƌƐŚŵĂŶΛ:ŽŶĞƐĂǇ͘ĐŽŵх
Đ͗'ĂďǇWƌĞĐŝĂĚŽф'ĂďǇΛŐĞƌĂŐŽƐ͘ĐŽŵх͖>ŽǀƌŝĞŶ͕ŚƌŝƐƚŽƉŚĞƌфĐũůŽǀƌŝĞŶΛũŽŶĞƐĚĂǇ͘ĐŽŵх͖DĂƌŬ'ĞƌĂŐŽƐ
фŵĂƌŬΛŐĞƌĂŐŽƐ͘ĐŽŵх
^ƵďũĞĐƚ͗ZĞ͗ŝŐϯ>>ĞƚĂů͘ǀ͘ŚŵĞĚůͲZƵŵĂŝŚŝĞƚĂů͕͘Ϯ͗ϭϴͲĐǀͲϬϯϰϲϲ͗DĞĞƚĂŶĚŽŶĨĞƌŽŶDŽƚŝŽŶƚŽŝƐŵŝƐƐĂŶĚ
DŽƚŝŽŶƚŽ^ƚƌŝŬĞ

7KDQNV%ULDQORRNIRUZDUGWRPHHWLQJDQGFRQIHUULQJRQWKHGDWH,VXJJHVWHG7DONWKHQ+DYHDJUHDW
ZHHNHQG
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2Q6DW$SUDW$0+HUVKPDQ%ULDQ'EKHUVKPDQ#MRQHVGD\FRP!ZURWH

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 KŶĐĞĂŐĂŝŶǇŽƵƌƌĞĐŝƚĂƚŝŽŶŽĨƚŚĞ͞ĨĂĐƚƐ͟ŝƐŽďũĞĐƚŝǀĞůǇĂŶĚǀĞƌŝĨŝĂďůǇŝŶĂĐĐƵƌĂƚĞ͘

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 ϭ͘dŚĞĚĞĨĞŶĚĂŶƚƐƌĞŵŽǀĞĚƚŚĞĐĂƐĞƚŽĨĞĚĞƌĂůĐŽƵƌƚŽŶtĞĚŶĞƐĚĂǇ;ƉƌŝůϮϱ͕ϮϬϭϴͿ͕ŶŽƚdŚƵƌƐĚĂǇĂƐǇŽƵĂƐƐĞƌƚ͘^ĞĞ
 Ŭƚ͘ŶƚƌǇηϭ͘KŶƚŚĂƚƐĂŵĞĚĂǇ;ƉƌŝůϮϱͿ͕/ƌĞĂĐŚĞĚŽƵƚďǇƉŚŽŶĞƚŽŵĞĞƚĂŶĚĐŽŶĨĞƌŽŶŽƵƌŝŶƚĞŶĚĞĚƌĞƐƉŽŶƐŝǀĞ
 ƉůĞĂĚŝŶŐƐ͕ĂŶĚ͕ǁŚĞŶ/ĚŝĚŶŽƚƌĞĐĞŝǀĞĂƌĞƐƉŽŶƐĞ͕ƐĞŶƚĂĚĞƚĂŝůĞĚĞŵĂŝůǁŚŝĐŚƐĂƚŝƐĨŝĞĚŽƵƌŵĞĞƚĂŶĚĐŽŶĨĞƌŽďůŝŐĂƚŝŽŶƐ
 ƵŶĚĞƌ>ŽĐĂůZƵůĞϳͲϯ͘^ĞĞDĂƐŝŵŽŽƌƉ͘ǀ͘DŝŶĚƌĂǇ^h^͕/ŶĐ͕͘EŽ͘^sϭϮϬϮϮϬϲ::WZy͕ϮϬϭϯt>ϭϮϭϯϭϭϳϰ͕ĂƚΎϮ
 ;͘͘Ăů͘EŽǀ͘ϭϱ͕ϮϬϭϯͿ;ĐŽŶĐůƵĚŝŶŐƚŚĂƚĂŶƚŝͲ^>WWŵŽƚŝŽŶǁĂƐŶŽƚƉƌŽĐĞĚƵƌĂůůǇďĂƌƌĞĚĨŽƌĨĂŝůƵƌĞƚŽŵĞĞƚĂŶĚĐŽŶĨĞƌ
 ƉƌŝŽƌƚŽĨŝůŝŶŐŽĨŵŽƚŝŽŶďĞĐĂƵƐĞĂŶĞŵĂŝůĞǆĐŚĂŶŐĞƐĂƚŝƐĨŝĞĚ>ŽĐĂůZƵůĞϳͲϯ͛Ɛ͞ŵĞĞƚĂŶĚĐŽŶĨĞƌ͟
 ƌĞƋƵŝƌĞŵĞŶƚ͘Ϳ͘EĞǀĞƌƚŚĞůĞƐƐ͕/ŽĨĨĞƌĞĚƚŽŵĂŬĞŵǇƐĞůĨĂǀĂŝůĂďůĞĂƚǇŽƵƌĐŽŶǀĞŶŝĞŶĐĞƚŽĚŝƐĐƵƐƐŽƵƌŝŶƚĞŶĚĞĚŵŽƚŝŽŶƐ͘

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 Ϯ͘/ĚŝĚŶŽƚ͞ĚĞŵĂŶĚ͟ƚŚĂƚǇŽƵŵĞĞƚĂŶĚĐŽŶĨĞƌǁŝƚŚŵĞŽŶ&ƌŝĚĂǇŶŝŐŚƚĂƚϵƉ͘ŵ͘/ĚŝĚ͞ŽĨĨĞƌ͟ƚŽŵĞĞƚĂŶĚĐŽŶĨĞƌ
 ǁŝƚŚǇŽƵĂƚƚŚĂƚƚŝŵĞ͘/ĂůƐŽŽĨĨĞƌĞĚƚŽŵĞĞƚĂŶĚĐŽŶĨĞƌǁŝƚŚǇŽƵĂƚǇŽƵƌĐŽŶǀĞŶŝĞŶĐĞŽŶƉƌŝůϮϱ͕ƉƌŝůϮϲ͕ƉƌŝůϮϳ͕
 ƉƌŝůϮϴ͕ĂŶĚƉƌŝůϯϬ͘/ƚŝƐŶŽƚĂĐĐĞƉƚĂďůĞ͕ŶŽƌĐŽŶƐŝƐƚĞŶƚǁŝƚŚǇŽƵƌŐŽŽĚĨĂŝƚŚŽďůŝŐĂƚŝŽŶ͕ĨŽƌƉůĂŝŶƚŝĨĨƐ͛ĐŽƵŶƐĞůƚŽ
 ƌĞĨƵƐĞƚŽŵĞĞƚĂŶĚĐŽŶĨĞƌĂƚĂŶǇƚŝŵĞŝŶĂŽŶĞǁĞĞŬƉĞƌŝŽĚ͕ĂŶĚƚŚĞƌĞďǇĂƚƚĞŵƉƚƚŽĂƌƚŝĨŝĐŝĂůůǇĚĞůĂǇĚĞĨĞŶĚĂŶƚƐ͛ĂďŝůŝƚǇ
 ƚŽĂĐĐŽŵƉůŝƐŚĚŝƐŵŝƐƐĂůŽĨĂƉĂƚĞŶƚůǇĚĞĨŝĐŝĞŶƚƉůĞĂĚŝŶŐ͘dŚĂƚŝƐƉĂƌƚŝĐƵůĂƌůǇƚƌƵĞǁŚĞƌĞ͕ĂƐŚĞƌĞ͕ƚŚĞŵĞƌŝƚůĞƐƐůĂǁƐƵŝƚ
 ƐĞĞŬƐƚŽĐŚŝůůĂĚĞĨĞŶĚĂŶƚ͛ƐĐŽŶƐƚŝƚƵƚŝŽŶĂůůǇƉƌŽƚĞĐƚĞĚƐƉĞĞĐŚ͕ĂŶĚŝƐƐƵďũĞĐƚƚŽƚŚĞŶƚŝͲ^>WWƐƚĂƚƵƚĞ;ĂůŝĨŽƌŶŝĂŽĚĞ
 ŽĨŝǀŝůWƌŽĐĞĚƵƌĞƐĞĐƚŝŽŶϰϮϱ͘ϭϲ͕ĞƚƐĞƋ͘Ϳ͘

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 ϯ͘zŽƵĂƌĞƵŶŝƋƵĞůǇƉŽƐŝƚŝŽŶĞĚƚŽƌĞƐŽůǀĞƚŚŝƐĚŝƐƉƵƚĞ;ĂŶĚŶĂƌƌŽǁƚŚĞŝƐƐƵĞƐͿďǇĚŝƐŵŝƐƐŝŶŐǇŽƵƌĐůŝĞŶƚƐ͛ŵĞƌŝƚůĞƐƐ
 ůĂǁƐƵŝƚ͘zŽƵƌƌĞĨĞƌĞŶĐĞƚŽƚŚĞƌĞŵŽǀĂůĚĂƚĞŝƐďŽƚŚŝŶĂĐĐƵƌĂƚĞĂŶĚĂƌĞĚŚĞƌƌŝŶŐ͘dŚĞƌĞůĞǀĂŶƚĚĂƚĞƐĂƌĞƉƌŝůϱĂŶĚϲ͕
 ǁŚĞŶƉůĂŝŶƚŝĨĨƐĨŝůĞĚƚŚĞŝƌĐŽŵƉůĂŝŶƚĂŶĚĨŝƌƐƚĂŵĞŶĚĞĚĐŽŵƉůĂŝŶƚ͘ƚƚŚĂƚƚŝŵĞ͕ǇŽƵƐŚŽƵůĚŚĂǀĞŬŶŽǁŶƚŚĂƚƚŚĞ
 ůĂǁƐƵŝƚǁĂƐŵĞƌŝƚůĞƐƐĂŶĚĂƉƵďůŝĐŝƚǇƐƚƵŶƚƚŽŐŝǀĞĐŽǀĞƌƚŽƚŚĞĚĞĨĂŵĂƚŽƌǇƐƚĂƚĞŵĞŶƚƐĂďŽƵƚŽƵƌĐůŝĞŶƚƐ͘zŽƵƐŚŽƵůĚ
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                                       #:1111
ŚĂǀĞĚŽŶĞĚƵĞĚŝůŝŐĞŶĐĞďĞĨŽƌĞĨŝůŝŶŐƚŚĞůĂǁƐƵŝƚ͘EĞǀĞƌƚŚĞůĞƐƐ͕ŝŶƚŚĞŵĞĞƚĂŶĚĐŽŶĨĞƌĞŵĂŝůǁĞƐĞŶƚŽŶƉƌŝůϮϱǁĞ
ĐůĂƌŝĨŝĞĚĨŽƌǇŽƵƚŚĞŶƵŵĞƌŽƵƐĚĞĨŝĐŝĞŶĐŝĞƐŝŶǇŽƵƌŽƉĞƌĂƚŝǀĞƉůĞĂĚŝŶŐ͘/ŚĂǀĞǇĞƚƚŽŚĞĂƌĂŶǇƐƵďƐƚĂŶƚŝǀĞƌĞƐƉŽŶƐĞ͘/Ĩ
ǇŽƵĚŽŶŽƚǀŽůƵŶƚĂƌŝůǇĚŝƐŵŝƐƐǇŽƵƌůĂǁƐƵŝƚ͕ǁĞǁŝůůŵŽǀĞƚŽŚĂǀĞƚŚĞŽƵƌƚĚŝƐŵŝƐƐŝƚŶĞǆƚǁĞĞŬ͘

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ϰ͘tŝƚŚƌĞƐƉĞĐƚƚŽƉůĂŝŶƚŝĨĨƐ͛ŝŶƚĞŶĚĞĚƌĞŵĂŶĚͬĚŝƐĐŽǀĞƌǇŵŽƚŝŽŶ͕/ŚĂǀĞĞǆƉůĂŝŶĞĚǁŚǇƚŚĂƚŵŽƚŝŽŶŝƐŝŶǀĂůŝĚŝŶŵǇ
ƉƌŝůϮϳ͕ϮϬϭϴĞŵĂŝů͘ŐĂŝŶ͕/ŚĂǀĞŶŽƚŚĞĂƌĚĂŶǇƐƵďƐƚĂŶƚŝǀĞƌĞƐƉŽŶƐĞŽƌĞǆƉůĂŶĂƚŝŽŶĨƌŽŵƉůĂŝŶƚŝĨĨƐĂƐƚŽǁŚǇƚŚĞǇ
ŚĂǀĞĂŐŽŽĚĨĂŝƚŚďĂƐŝƐĨŽƌƐƵĐŚŵŽƚŝŽŶŐŝǀĞŶƚŚĞůĞŐĂůĂŶĂůǇƐŝƐ/ŽƵƚůŝŶĞĚ͘EĞǀĞƌƚŚĞůĞƐƐ͕ǇŽƵĐŽŶƚƌŽůǁŚĞŶǇŽƵĐŚŽŽƐĞ
ƚŽĨŝůĞƐƵĐŚĂŵŽƚŝŽŶ͕ŝĨƚŚĂƚŝƐƚŚĞǁĂǇǇŽƵǁŝƐŚƚŽƉƌŽĐĞĞĚ͘/ǁŝůůŵĂŬĞŵǇƐĞůĨĂǀĂŝůĂďůĞŽŶDĂǇϮ;ĂƐǇŽƵƌĞƋƵĞƐƚͿ͕Žƌ
ďĞĨŽƌĞŽƌĂĨƚĞƌŝĨƚŚĂƚŝƐǇŽƵƌƉƌĞĨĞƌĞŶĐĞ͘

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dŚĂŶŬǇŽƵ͘

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&ƌŽŵ͗ĞŶDĞŝƐĞůĂƐфŵĞŝƐĞůĂƐΛŐĞƌĂŐŽƐ͘ĐŽŵх
^ĞŶƚ͗&ƌŝĚĂǇ͕ƉƌŝůϮϳ͕ϮϬϭϴϵ͗ϰϳWD

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dŽ͗,ĞƌƐŚŵĂŶ͕ƌŝĂŶ͘фďŚĞƌƐŚŵĂŶΛ:ŽŶĞƐĂǇ͘ĐŽŵх
Đ͗'ĂďǇWƌĞĐŝĂĚŽф'ĂďǇΛŐĞƌĂŐŽƐ͘ĐŽŵх͖>ŽǀƌŝĞŶ͕ŚƌŝƐƚŽƉŚĞƌфĐũůŽǀƌŝĞŶΛũŽŶĞƐĚĂǇ͘ĐŽŵх͖DĂƌŬ'ĞƌĂŐŽƐ
фŵĂƌŬΛŐĞƌĂŐŽƐ͘ĐŽŵх
^ƵďũĞĐƚ͗ZĞ͗ŝŐϯ>>ĞƚĂů͘ǀ͘ŚŵĞĚůͲZƵŵĂŝŚŝĞƚĂů͕͘Ϯ͗ϭϴͲĐǀͲϬϯϰϲϲ͗DĞĞƚĂŶĚŽŶĨĞƌŽŶDŽƚŝŽŶƚŽŝƐŵŝƐƐĂŶĚ
DŽƚŝŽŶƚŽ^ƚƌŝŬĞ

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%ULDQ<RXUFOHDUO\GRQ¶WZDQWWRPHDQLQJIXOO\PHHWDQGFRQIHU

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+HUHDUHWKHIDFWV

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<RXUHPRYHGWKHFDVH<(67(5'$<WRIHGHUDOFRXUW

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72'$<GD\DIWHUWKHFDVHZDVUHPRYHGWR)HGHUDO&RXUW,KDYHUHVSRQGHGZLWKP\DYDLODELOLW\
QH[WZHHNWRPHHWLQSHUVRQRUVFKHGXOHDFDOODQGUHTXHVWHGZHDOVRPHHWDQGFRQIHURQRXUUHTXHVWIRU
OLPLWHGMXULVGLFWLRQDOGLVFRYHU\DQGPRWLRQIRUUHPDQG

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<RXDUHGHPDQGLQJ,PHHWDQGFRQIHUZLWK\RXQRZRQ)ULGD\QLJKWDW30LQVWHDGZKLFK,DPQRWJRLQJ
WRGRVLQFH,DPZLWKP\IDPLO\QRZIRUWKHILUVWWLPHLQDIHZZHHNV6R,KDYHUHVHUYHGQH[W:HGQHVGD\
IROORZLQJP\GHSRVLWLRQVRQ0RQGD\7XHVGD\WRGHYRWHDSSURSULDWHDQGPHDQLQJIXOWLPHWRDPHHWDQG
FRQIHUZLWK\RX,I\RXKDYHDOWHUQDWLYHWLPHRQ7KXUVGD\,FDQPHHWDQGFRQIHUWKHQDOWKRXJK,ZLOOEHLQ
7H[DV,ZLOOQRWEHDYDLODEOHQH[W)ULGD\VLQFH,DPLQDGHSRVLWLRQV

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0\VXJJHVWHGPHHWDQGFRQIHUVFKHGXOHZRXOGKDYHXVLQFRPSOLDQFHZLWKWKHORFDOUXOHVZLWKLQGD\VRI
\RXUUHPRYDOZKLFKLVDSSURSULDWHDQGH[FHHGLQJO\H[SHGLWLRXV

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,GRQRWEHOLHYHLQD³FKHFNWKHER[´PHHWDQGFRQIHUQRUGRWKHUXOHVFRXQWHQDQFHWKDWDSSURDFK,WDNHP\
PHHWDQGFRQIHUREOLJDWLRQVVHULRXVO\DQGKDYHWKXVPDGHWKLVSURSRVDOLQJRRGIDLWK+RSHIXOO\ZHFDQQDUURZ
LVVXHVIRUWKHFRXUW7RWKHH[WHQW\RXZDQWWRRSHUDWHRXWVLGHWKHUXOHVZHZLOOUHVSRQGDFFRUGLQJO\

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7KDQN\RX

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2Q)UL$SUDW30+HUVKPDQ%ULDQ'EKHUVKPDQ#MRQHVGD\FRP!ZURWH

 ĞŶʹǇŽƵƌĐŚĂƌĂĐƚĞƌŝǌĂƚŝŽŶŝƐŚŝŐŚůǇŝŶĂĐĐƵƌĂƚĞ͘/ĐĂůůĞĚŽŶtĞĚŶĞƐĚĂǇƉƌŝůϮϱ͕ϮϬϭϴƚŽŵĞĞƚĂŶĚĐŽŶĨĞƌŽŶŽƵƌ
 ŵŽƚŝŽŶƐ͕ďƵƚƌĞĐĞŝǀĞĚŶŽƌĞƐƉŽŶƐĞ͘/ƚŚĞŶƐĞŶƚĂŶĞŵĂŝůůĂƚĞƌŽŶƉƌŝůϮϱ͕ϮϬϭϴĚĞƚĂŝůŝŶŐŽƵƌƉŽƐŝƚŝŽŶĂŶĚŽĨĨĞƌŝŶŐƚŽ
 ŵĞĞƚĂŶĚĐŽŶĨĞƌĂƚǇŽƵƌĐŽŶǀĞŶŝĞŶĐĞʹĂŐĂŝŶŶŽƌĞƐƉŽŶƐĞ͘/ƌĞĐĞŝǀĞĚŶŽƌĞƐƉŽŶƐĞŽŶdŚƵƌƐĚĂǇ͕ĂŶĚƐŽ&ƌŝĚĂǇƌĞĂĐŚĞĚ
 ŽƵƚǇĞƚĂŐĂŝŶ͘/ĨŝŶĂůůǇƌĞĐĞŝǀĞĚĂŶĞŵĂŝůŽŶ&ƌŝĚĂǇĂĨƚĞƌŶŽŽŶ͕ďƵƚǇŽƵĨĂŝůĞĚƚŽĂĚĚƌĞƐƐŽƵƌŝŶƚĞŶĚĞĚŵŽƚŝŽŶƐ;ŝŶƐƚĞĂĚ
 ƐƵŐŐĞƐƚŝŶŐƚŚĂƚǁĞŵĞĞƚĂŶĚĐŽŶĨĞƌŽŶĂŵŽƚŝŽŶƚŚĂƚƉůĂŝŶƚŝĨĨƐŝŶƚĞŶĚĞĚƚŽďƌŝŶŐͿ͘dŚĞĞŶƚŝƌĞƉƵƌƉŽƐĞďĞŚŝŶĚ
 ĂůŝĨŽƌŶŝĂŽĚĞŽĨŝǀŝůWƌŽĐĞĚƵƌĞƐĞĐƚŝŽŶϰϮϱ͘ϭϲ͕ĞƚƐĞƋ͘ŝƐƚŽĞŵƉŽǁĞƌĚĞĨĞŶĚĂŶƚƐƚŽĞǆƉĞĚŝƚŝŽƵƐůǇĚŝƐƉŽƐĞŽĨ
 ŵĞƌŝƚůĞƐƐůĂǁƐƵŝƚƐďĂƐĞĚŽŶĐŽŶƐƚŝƚƵƚŝŽŶĂůůǇƉƌŽƚĞĐƚĞĚƐƉĞĞĐŚƐŽĂƐƚŽĂǀŽŝĚĂĐŚŝůůŽŶƐƵĐŚƐƉĞĞĐŚ͘zŽƵƌĐŽŶƚŝŶƵĞĚ
 ƌĞĨƵƐĂůƚŽĞŶŐĂŐĞŽŶƚŚŝƐŝƐƐƵĞĂŶĚŝŶƐƚĞĂĚƐĞĞŬƚŽĚĞůĂǇƌĞƐŽůƵƚŝŽŶŝƐŶŽƚĐŽŶƐŝƐƚĞŶƚǁŝƚŚƚŚĞ>ĞŐŝƐůĂƚŝǀĞƉƵƌƉŽƐĞ͘See
 Masimo Corp. v. Mindray DS USA, Inc1R6$&9&-&-35;:/DW&'&DO
 1RYFRQFOXGLQJWKDWDQWL6/$33PRWLRQZDVQRWSURFHGXUDOO\EDUUHGIRUIDLOXUHWRPHHWDQG
 FRQIHUSULRUWRILOLQJRIPRWLRQEHFDXVHDQHPDLOH[FKDQJHVDWLVILHG/RFDO5XOH¶V³PHHWDQGFRQIHU´
 UHTXLUHPHQW,QVWHDGRIZDVWLQJWLPHZULWLQJLQDFFXUDWHHPDLOV,ZRXOGHQFRXUDJH\RXƚŽƉŝĐŬƵƉƚŚĞƉŚŽŶĞ
 ĂŶĚĐĂůůŵĞƚŽŶŝŐŚƚ͕ƚŽŵŽƌƌŽǁŽƌDŽŶĚĂǇ͘/ǁŝůůƉƌŽǀŝĚĞĂƉŚŽŶĞŶƵŵďĞƌĨŽƌǇŽƵƚŽĚŽƐŽ͘/ĨǇŽƵĐŚŽŽƐĞŶŽƚƚŽĚŽƐŽ͕
 ǁĞƌĞƋƵĞƐƚƚŚĂƚǇŽƵŝŶĐůƵĚĞƚŚŝƐĐŽƌƌĞƐƉŽŶĚĞŶĐĞŝŶĂŶǇĨƌŝǀŽůŽƵƐŵŽƚŝŽŶƚŽƐƚƌŝŬĞ͘

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 tŝƚŚƌĞƐƉĞĐƚƚŽǇŽƵƌŝŶƚĞŶĚĞĚŵŽƚŝŽŶ͕/ŚĂǀĞŶŽƚĚĞĐůŝŶĞĚƚŽŵĞĞƚĂŶĚĐŽŶĨĞƌ͘ZĂƚŚĞƌ͕/ŚĂǀĞĞǆƉůĂŝŶĞĚŽƵƌƉŽƐŝƚŝŽŶ
 ;ƐŽŵĞƚŚŝŶŐƚŚĞƉůĂŝŶƚŝĨĨƐŚĂǀĞŶĞǀĞƌĚŽŶĞͿ͕ĞǆƉƌĞƐƐĞĚĂǁŝůůŝŶŐŶĞƐƐƚŽŵĞĞƚĂŶĚĐŽŶĨĞƌĨƵƌƚŚĞƌƚŽƚŚĞĞǆƚĞŶƚǇŽƵ
 ďĞůŝĞǀĞŝƚŝƐŶĞĐĞƐƐĂƌǇ͕ďƵƚĞǆƉƌĞƐƐĞĚƚŚĞĚĞĨĞŶĚĂŶƚƐ͛ǀŝĞǁƚŚĂƚĨƵƌƚŚĞƌĚŝƐĐƵƐƐŝŽŶǁĂƐŶŽƚŶĞĐĞƐƐĂƌǇŐŝǀĞŶƉůĂŝŶƚŝĨĨƐ͛
 ŝŶĂďŝůŝƚǇƚŽĂĚĚƌĞƐƐƚŚƌĞƐŚŽůĚŝƐƐƵĞƐ͘/ĞŶĐŽƵƌĂŐĞǇŽƵƚŽƌĞͲƌĞĂĚŵǇĞŵĂŝůĂƐŽƵƌƉŽƐŝƚŝŽŶǁĂƐĐůĞĂƌ;ĂŶĚƐŽǇŽƵĚŽŶ͛ƚ
 ŵŝƐƐƚĂƚĞŝƚĂŐĂŝŶͿ͘Ɛ/ŝŶĚŝĐĂƚĞĚĨĞĞůĨƌĞĞƚŽĐĂůůŵĞĂƚǇŽƵƌĐŽŶǀĞŶŝĞŶĐĞ͘

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                                       #:1113
&ƌŽŵ͗ĞŶDĞŝƐĞůĂƐфŵĞŝƐĞůĂƐΛŐĞƌĂŐŽƐ͘ĐŽŵх
^ĞŶƚ͗&ƌŝĚĂǇ͕ƉƌŝůϮϳ͕ϮϬϭϴϴ͗ϯϱWD

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dŽ͗,ĞƌƐŚŵĂŶ͕ƌŝĂŶ͘фďŚĞƌƐŚŵĂŶΛ:ŽŶĞƐĂǇ͘ĐŽŵх

Đ͗'ĂďǇWƌĞĐŝĂĚŽф'ĂďǇΛŐĞƌĂŐŽƐ͘ĐŽŵх͖>ŽǀƌŝĞŶ͕ŚƌŝƐƚŽƉŚĞƌфĐũůŽǀƌŝĞŶΛũŽŶĞƐĚĂǇ͘ĐŽŵх͖DĂƌŬ'ĞƌĂŐŽƐ
фŵĂƌŬΛŐĞƌĂŐŽƐ͘ĐŽŵх

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^ƵďũĞĐƚ͗ZĞ͗ŝŐϯ>>ĞƚĂů͘ǀ͘ŚŵĞĚůͲZƵŵĂŝŚŝĞƚĂů͕͘Ϯ͗ϭϴͲĐǀͲϬϯϰϲϲ͗DĞĞƚĂŶĚŽŶĨĞƌŽŶDŽƚŝŽŶƚŽŝƐŵŝƐƐĂŶĚ
DŽƚŝŽŶƚŽ^ƚƌŝŬĞ

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7KDQNV%ULDQZHZLOOWDNHWKLVDV\RXKDYHUHMHFWHGRXUUHTXHVWWRPHHWDQGFRQIHUSXUVXDQWWRWKHUXOHV

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2QFHDJDLQZHUHLWHUDWHWKDWZHDUHDYDLODEOHIRUDFDOORULQSHUVRQ:HGQHVGD\WRPHHWDQGFRQIHU:HWKLQN
LWLVSUXGHQWWKDWWKHSDUWLHVHQJDJHPHDQLQJIXOO\E\SKRQHRULQSHUVRQDVWKHUXOHVUHTXLUH

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+RZYHUWRWKHH[WHQW\RXILOHEHIRUHWKHQSOHDVHQRWHZHZLOOVHHNWRVWULNHWKHSOHDGLQJ\RXILOHIRUIDLOLQJ
WRPHHWDQGFRQIHU

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,KDYHQHYHUGHDOWZLWKDQRSSRVLQJFRXQVHOZKRUHIXVHVWRPHHWDQGFRQIHUDQGDFFRPPRGDWHDQRSSRVLQJ
FRQQVHOVVFKHGXOHIRUDIHZGD\V

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%XWLI\RXDUHUHIXVLQJWRPHDQLQJIXOO\PHHWDQGFRQIHUDQGUHMHFWWKHORFDOUXOHVVRQRWHGDQGZHZLOOQRWLI\
WKH&RXUWRI\RXUDSSURDFK

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7KDQN\RXVLU

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2Q)UL$SUDW30+HUVKPDQ%ULDQ'EKHUVKPDQ#MRQHVGD\FRP!ZURWH

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 &ŽƌƚŚĞƌĞĂƐŽŶƐŝĚĞŶƚŝĨŝĞĚŝŶŽƵƌƌĞŵŽǀĂůƉĞƚŝƚŝŽŶŝŶĐůƵĚŝŶŐ;ϭͿ/'ϯŝƚƐĞůĨŝĚĞŶƚŝĨŝĞĚDƌ͘ůͲZƵŵĂŝŚŝĂƐĚŽŵŝĐŝůĞĚŝŶ
 YĂƚĂƌŝŶŝƚƐƉůĞĂĚŝŶŐŝŶƚŚĞŚĂŵƉŝŽŶƐĂĐƚŝŽŶ͖;ϮͿDƌ͘ůͲZƵŵĂŝŚŝ͛ƐͲϭsŝƐĂƐƚĂƚƵƐŵĞĂŶƐƚŚĂƚŚŝƐƌĞƐŝĚĞŶĐĞŝŶƚŚĞh^
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ĚŽĞƐŶŽƚĂĨĨĞĐƚĚŝǀĞƌƐŝƚǇ͕ĞǀĞŶŝĨDƌ͘ůͲZƵŵĂŝŚŝĚŝĚƌĞƐŝĚĞŝŶĂůŝĨŽƌŶŝĂ͖ĂŶĚ;ϯͿDƌ͘ůͲZƵŵĂŝŚŝĚŽĞƐŶŽƚ͕ŝŶĂŶǇ
ĞǀĞŶƚ͕ƌĞƐŝĚĞŝŶĂůŝĨŽƌŶŝĂ͕ƚŚĞĚĞĨĞŶĚĂŶƚƐĚŽŶŽƚďĞůŝĞǀĞĂŶǇũƵƌŝƐĚŝĐƚŝŽŶĂůĐŚĂůůĞŶŐĞďǇƉůĂŝŶƚŝĨĨƐŐĞƚƐŽĨĨƚŚĞŐƌŽƵŶĚ͕
ŶŽƌĚŽǁĞďĞůŝĞǀĞũƵƌŝƐĚŝĐƚŝŽŶĂůĚŝƐĐŽǀĞƌǇŝƐǁĂƌƌĂŶƚĞĚ͘dŽƚŚĞĞǆƚĞŶƚƉůĂŝŶƚŝĨĨƐƐĞĞŬƚŽĐŚĂůůĞŶŐĞƌĞŵŽǀĂů;ŽƌƐĞĞŬ
ĚŝƐĐŽǀĞƌǇͿ͕ǇŽƵĐĂŶĐŽŶƐŝĚĞƌƚŚŝƐŽƵƌŵĞĞƚĂŶĚĐŽŶĨĞƌŽŶƚŚĞŝƐƐƵĞĂŶĚŵŽǀĞĨŽƌǁĂƌĚǁŝƚŚĂŶǇƉůĞĂĚŝŶŐƐǇŽƵďĞůŝĞǀĞ
ĂƌĞǁĂƌƌĂŶƚĞĚ͘dŽƚŚĞĞǆƚĞŶƚǇŽƵǁŽƵůĚůŝŬĞƚŽĚŝƐĐƵƐƐƚŚŝƐĨƵƌƚŚĞƌ͕/ĂŵĂǀĂŝůĂďůĞƚŽŵŽƌƌŽǁŽƌĂůůĚĂǇDŽŶĚĂǇ͖
ŚŽǁĞǀĞƌ/ĚŽŶŽƚďĞůŝĞǀĞĨƵƌƚŚĞƌĚŝƐĐƵƐƐŝŽŶƐĂƌĞŶĞĐĞƐƐĂƌǇŽƌǁŽƵůĚďĞĨƌƵŝƚĨƵů͘

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tŝƚŚƌĞƐƉĞĐƚƚŽĚĞĨĞŶĚĂŶƚƐ͛ŵŽƚŝŽŶƚŽƐƚƌŝŬĞƵŶĚĞƌĂůŝĨŽƌŶŝĂŽĚĞŽĨŝǀŝůWƌŽĐĞĚƵƌĞƐĞĐƚŝŽŶϰϮϱ͘ϭϲ͕ĞƚƐĞƋ͕͘ĂŶĚ
ŵŽƚŝŽŶƚŽĚŝƐŵŝƐƐƵŶĚĞƌZƵůĞϭϮ;ďͿ;ϲͿĨŽƌĨĂŝůƵƌĞƚŽƐƚĂƚĞĂĐůĂŝŵ͕ŵǇĞŵĂŝůŽĨtĞĚŶĞƐĚĂǇƐĞƚĨŽƌƚŚŝŶĚĞƚĂŝůƚŚĞďĂƐŝƐ
ŽĨŽƵƌŵŽƚŝŽŶƐ͘WůĂŝŶƚŝĨĨƐŚĂǀĞŶŽƚĞŶŐĂŐĞĚŽŶƚŚĞŝƐƐƵĞ͕ŶŽƌŚĂǀĞƚŚĞǇŝĚĞŶƚŝĨŝĞĚĂŶǇŝƐƐƵĞƚŚĂƚƚŚĞǇǁŝƐŚƚŽĚŝƐĐƵƐƐ
ĨƵƌƚŚĞƌ͘dŚĞƌĞĨŽƌĞ͕ǁĞŝŶƚĞŶĚƚŽŵŽǀĞĨŽƌǁĂƌĚǁŝƚŚďŽƚŚŵŽƚŝŽŶƐŶĞǆƚǁĞĞŬ͘dŽƚŚĞĞǆƚĞŶƚǇŽƵǁŽƵůĚůŝŬĞƚŽ
ĚŝƐĐƵƐƐƚŚĞƉůĂŝŶƚŝĨĨƐ͛ƉŽƐŝƚŝŽŶ͕/ĂŵĂǀĂŝůĂďůĞƚŽŵŽƌƌŽǁŽƌĂůůĚĂǇDŽŶĚĂǇ͘

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dŚĂŶŬǇŽƵ͘

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&ƌŽŵ͗ĞŶDĞŝƐĞůĂƐфŵĞŝƐĞůĂƐΛŐĞƌĂŐŽƐ͘ĐŽŵх
^ĞŶƚ͗&ƌŝĚĂǇ͕ƉƌŝůϮϳ͕ϮϬϭϴϮ͗ϬϬWD

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dŽ͗,ĞƌƐŚŵĂŶ͕ƌŝĂŶ͘фďŚĞƌƐŚŵĂŶΛ:ŽŶĞƐĂǇ͘ĐŽŵх

Đ͗>ŽǀƌŝĞŶ͕ŚƌŝƐƚŽƉŚĞƌфĐũůŽǀƌŝĞŶΛũŽŶĞƐĚĂǇ͘ĐŽŵх͖DĂƌŬ'ĞƌĂŐŽƐфŵĂƌŬΛŐĞƌĂŐŽƐ͘ĐŽŵх͖'ĂďǇWƌĞĐŝĂĚŽ
ф'ĂďǇΛŐĞƌĂŐŽƐ͘ĐŽŵх

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^ƵďũĞĐƚ͗ZĞ͗ŝŐϯ>>ĞƚĂů͘ǀ͘ŚŵĞĚůͲZƵŵĂŝŚŝĞƚĂů͕͘Ϯ͗ϭϴͲĐǀͲϬϯϰϲϲ͗DĞĞƚĂŶĚŽŶĨĞƌŽŶDŽƚŝŽŶƚŽŝƐŵŝƐƐĂŶĚ
DŽƚŝŽŶƚŽ^ƚƌŝŬĞ

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:K\GRQ
WZHVFKHGXOHDFDOOHDUO\QH[WZHHNZKHUHZHFDQPHHWDQGFRQIHUUHJDUGLQJRXUMXULVGLFWLRQDO
FKDOOHQJHDVZHOODVZKDWLV\RXZDQWWRILOH:HEHOLHYHWKHFDVHKDVQRWEHHQSURSHUO\UHPRYHGZLWK
UHVSHFWWR0U$O5XPDLKL:HFDQVHWRXWWKRVHLVVXHVRQRXUFDOO2EYLRXVO\MXULVGLFWLRQQHHGVWREH
DGGUHVVHGILUVW

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6LQFHWKH&RPSODLQWDQG)LUVW$PHQGHG&RPSODLQWZHUHMXVWILOHGLWLVVWLOORXWIRUVHUYLFHZLWKUHVSHFWWR
WKHRWKHU'HIHQGDQWVZKLFKZHKRSHWRKDYHQH[WZHHN:HFRXOGDLPWRVWUHDPOLQLQJWKHUHVSRQVLYH
SOHDGLQJVIRUWKH&RXUWWRHQVXUHMXGLFLDOHIILFLHQF\

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YHFRSLHG*DE\WRDUUDQJHWKHFDOO7KHEHVWGD\IRUPHLVSUREDEO\:HGQHVGD\LQWKH$0JLYHQ
WKHRWKHUGHSRVLWLRQV,KDYHWKDWZHHN
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/HW
VFRRUGLQDWHWKHEHVWWLPHZHFDQDOOJHWRQDFDOOWRHQVXUHDQHIILFLHQWDQGFRPSUHKHQVLYHPHHWDQG
FRQIHU

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7KDQN\RX%ULDQ

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2Q)UL$SUDW30%HQ0HLVHODVPHLVHODV#JHUDJRVFRP!ZURWH

 7KDQNV%ULDQ:HWKLQNWKHFDVHLVLPSURSHUO\UHPRYHGVRZHLQWHQGWRFKDOOHQJHWKHUHPRYDODQGZLOOILOH
 DUHTXHVWIRUMXULVGLFWLRQDOGLVFRYHU\:RXOG\RXEHDJUHHDEOHWROLPLWHGMXULVGLFWLRQDOGLVFRYHU\"7KDQN
 \RX

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 2Q)UL$SUDW30+HUVKPDQ%ULDQ'EKHUVKPDQ#MRQHVGD\FRP!ZURWH

     :HGLG$QGQRZZHDUHSODQQLQJWRILOHRXUUHVSRQVLYHSOHDGLQJ$QGDUHDWWHPSWLQJWRPHHWDQGFRQIHU
     LQDFFRUGDQFHZLWKWKHORFDOUXOHVEHIRUHZHGRVR3OHDVHOHWXVNQRZ\RXUDYDLODELOLW\7KDQN\RX

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     6HQWZLWK%ODFN%HUU\:RUN
     ZZZEODFNEHUU\FRP

     )URP%HQ0HLVHODVPHLVHODV#JHUDJRVFRP!

     'DWH)ULGD\$SU30

     7R+HUVKPDQ%ULDQ'EKHUVKPDQ#-RQHV'D\FRP!

     &F/RYULHQ&KULVWRSKHUFMORYULHQ#MRQHVGD\FRP!0DUN*HUDJRVPDUN#JHUDJRVFRP!


     6XEMHFW5H%LJ//&HWDOY$KPHG$O5XPDLKLHWDOFY0HHWDQG&RQIHURQ0RWLRQWR'LVPLVVDQG
     0RWLRQWR6WULNH

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     7KDQNV%ULDQ%ULDQGLGQ¶W\RXMXVWUHPRYHWRIHGHUDOFRXUW"

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     2Q)UL$SUDW30+HUVKPDQ%ULDQ'EKHUVKPDQ#MRQHVGD\FRP!ZURWH

      &RXQVHO


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,DPRQFHDJDLQLQTXLULQJDERXW\RXUDYDLODELOLW\WRPHHWDQGFRQIHUSHUORFDOUXOH3OHDVHSURYLGH
\RXUDYDLODELOLW\7KDQN\RX

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6HQWZLWK%ODFN%HUU\:RUN
ZZZEODFNEHUU\FRP

)URP+HUVKPDQ%ULDQ'EKHUVKPDQ#-RQHV'D\FRP!

'DWH:HGQHVGD\$SU30

7R0DUN*HUDJRVPDUN#JHUDJRVFRP!%HQ0HLVHODVPHLVHODV#JHUDJRVFRPPHLVHODV#JHUDJRVFRP!

&F/RYULHQ&KULVWRSKHUFMORYULHQ#MRQHVGD\FRP!

6XEMHFW5(%LJ//&HWDOY$KPHG$O5XPDLKLHWDOFY0HHWDQG&RQIHURQ0RWLRQWR'LVPLVVDQG
0RWLRQWR6WULNH

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DĂƌŬ͕

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/ŶĂĐĐŽƌĚĂŶĐĞǁŝƚŚ>ŽĐĂůZƵůĞϳͲϯ͕/ĨŝƌƐƚĂƚƚĞŵƉƚĞĚƚŽƌĞĂĐŚǇŽƵƌĨŝƌŵďǇƚĞůĞƉŚŽŶĞƚŽĐŽŶĚƵĐƚƚŚĞƌĞƋƵŝƌĞĚŵĞĞƚ
ĂŶĚĐŽŶĨĞƌ͕ĂŶĚĨŽůůŽǁĞĚƵƉǁŝƚŚƚŚĞďĞůŽǁĞŵĂŝů͘tŚŝůĞǇŽƵĂƉƉĞĂƌƚŽƚĂŬĞŽĨĨĞŶƐĞĂƚƚŚĞ͞ŵŝƐƐŝǀĞ͕͟ƚŚĞĞŵĂŝů͗
;ϭͿĐŽŵƉůŝĞƐǁŝƚŚ>ŽĐĂůZƵůĞϳͲϯ͖ĂŶĚ;ϮͿĞǆƉůĂŝŶƐŝŶŐƌĞĂƚĞƌĚĞƚĂŝůƚŚĞĚĞĨŝĐŝĞŶĐŝĞƐŝŶƚŚĞ&ƚŽĨĂĐŝůŝƚĂƚĞĂŵŽƌĞ
ƉƌŽĚƵĐƚŝǀĞŵĞĞƚĂŶĚĐŽŶĨĞƌĞǆĐŚĂŶŐĞ͘ƐŝŶĚŝĐĂƚĞĚŝŶƚŚĞĞŵĂŝů͕/ĂŵĂǀĂŝůĂďůĞƚŽĚŝƐĐƵƐƐƚŚĞĚĞĨĞŶĚĂŶƚƐ͛
ƉŽƐŝƚŝŽŶƐŽƉůĞĂƐĞůĞƚŵĞŬŶŽǁǁŚĞŶǇŽƵĂƌĞĂǀĂŝůĂďůĞ͘dŚĂŶŬǇŽƵ͘

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&ƌŽŵ͗DĂƌŬ'ĞƌĂŐŽƐфŵĂƌŬΛŐĞƌĂŐŽƐ͘ĐŽŵх
^ĞŶƚ͗tĞĚŶĞƐĚĂǇ͕ƉƌŝůϮϱ͕ϮϬϭϴϰ͗ϰϯWD
dŽ͗ĞŶDĞŝƐĞůĂƐ;ŵĞŝƐĞůĂƐΛŐĞƌĂŐŽƐ͘ĐŽŵͿфŵĞŝƐĞůĂƐΛŐĞƌĂŐŽƐ͘ĐŽŵх͖,ĞƌƐŚŵĂŶ͕ƌŝĂŶ͘
фďŚĞƌƐŚŵĂŶΛ:ŽŶĞƐĂǇ͘ĐŽŵх
Đ͗>ŽǀƌŝĞŶ͕ŚƌŝƐƚŽƉŚĞƌфĐũůŽǀƌŝĞŶΛũŽŶĞƐĚĂǇ͘ĐŽŵх
^ƵďũĞĐƚ͗ZĞ͗ŝŐϯ>>ĞƚĂů͘ǀ͘ŚŵĞĚůͲZƵŵĂŝŚŝĞƚĂů͕͘Ϯ͗ϭϴͲĐǀͲϬϯϰϲϲ͗DĞĞƚĂŶĚŽŶĨĞƌŽŶDŽƚŝŽŶƚŽŝƐŵŝƐƐĂŶĚ
DŽƚŝŽŶƚŽ^ƚƌŝŬĞ

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<RXFDOOHGPLQXWHVDJRDQGKDYHQ¶WUHFHLYHGDFDOOEDFNVR\RXVHQGWKLVPLVVLYH"

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2Q:HG$SUDW30+HUVKPDQ%ULDQ'EKHUVKPDQ#MRQHVGD\FRP!ZURWH


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&RXQVHO

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,ZULWHRQEHKDOIRIGHIHQGDQWV$KPHG$O5XPDLKLDQG$\PDQ6DEL³'HIHQGDQWV´WRPHHWDQGFRQIHU
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 Sincerely-- 

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    BEN MEISELAS, ESQ.




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                       EXHIBIT C




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       ĨŽƌĚĞƉŽƐŝƚŝŽŶďŽƚŚďĞĐĂƵƐĞŚĞŝƐƵŶĂǀĂŝůĂďůĞ;ŝŶYĂƚĂƌͿĂŶĚŵŽƌĞĨƵŶĚĂŵĞŶƚĂůůǇďĞĐĂƵƐĞĂĚĞƉŽƐŝƚŝŽŶŝƐ
       ŶŽƚǁĂƌƌĂŶƚĞĚ͘DŽƌĞŽǀĞƌ͕ĐŽŶƚƌĂƌǇƚŽǇŽƵƌƐƵŐŐĞƐƚŝŽŶ͕ĚĞĨĞŶĚĂŶƚƐĚŽŶŽƚĐŽŶĐĞĚĞƚŚĂƚĂŶǇĚŝƐĐŽǀĞƌǇŝƐ
       ǁĂƌƌĂŶƚĞĚŝŶĐŽŶŶĞĐƚŝŽŶƚŽƚŚĞŶƚŝͲ^>WWŵŽƚŝŽŶ͘dŽƚŚĞĐŽŶƚƌĂƌǇ͕WůĂŝŶƚŝĨĨƐƐŚŽƵůĚŚĂǀĞŝŶǀĞƐƚŝŐĂƚĞĚ
       ƚŚĞŵĞƌŝƚƐŽĨƚŚĞŝƌĐůĂŝŵďĞĨŽƌĞƚŚĞǇĨŝůĞĚĂŵĞƌŝƚůĞƐƐůĂǁƐƵŝƚĂŐĂŝŶƐƚDƌ͘ůͲZƵŵĂŝŚŝĂŶĚDƌ͘^Ăďŝ͕
       ĂŵŽŶŐŽƚŚĞƌƐ͘dŚĞĨĂĐƚƚŚĂƚǇŽƵŶĞĞĚĚŝƐĐŽǀĞƌǇƚŽĨŝŶĚ͞ĞǀŝĚĞŶƚŝĂƌǇƐƵƉƉŽƌƚĨŽƌǇŽƵƌĐůĂŝŵ͟ŚŝŐŚůŝŐŚƚƐ
       ǁŚǇƚŚĞůĂǁƐƵŝƚƐŚŽƵůĚŶĞǀĞƌŚĂǀĞďĞĞŶďƌŽƵŐŚƚ͕ĂŶĚǁŚǇŝƚƐŚŽƵůĚŶŽǁďĞĚŝƐŵŝƐƐĞĚ͘EŽƚǁŝƚŚƐƚĂŶĚŝŶŐ
       ƚŚĞĂďŽǀĞ͕ĂŶĚŝŶĂŐŽŽĚĨĂŝƚŚĞĨĨŽƌƚƚŽƌĞƐŽůǀĞƚŚĞĚŝƐƉƵƚĞǁŝƚŚŽƵƚĐŽƵƌƚŝŶƚĞƌǀĞŶƚŝŽŶ͕ǁĞŵĂĚĞĂǀĞƌǇ
       ŐĞŶĞƌŽƵƐŽĨĨĞƌƚŽŚĂǀĞDƌ͘ůͲZƵŵĂŝŚŝƌĞƐƉŽŶĚƚŽǁƌŝƚƚĞŶŝŶƚĞƌƌŽŐĂƚŽƌŝĞƐ͘zŽƵĂƉƉĂƌĞŶƚůǇĂƌĞƌĞũĞĐƚŝŶŐ
       ƚŚŝƐŽĨĨĞƌ͘ƵƚƚŽďĞĐůĞĂƌ͕WůĂŝŶƚŝĨĨƐŚĂǀĞŶŽƚĞƐƚĂďůŝƐŚĞĚĂŐŽŽĚĨĂŝƚŚďĂƐŝƐĨŽƌĂŶǇĚŝƐĐŽǀĞƌǇ͘
       
       tŝƚŚƌĞƐƉĞĐƚƚŽDƌ͘ůͲZƵŵĂŝŚŝ͛ƐƉƌĞƐĞŶĐĞŝŶYĂƚĂƌ͕ĂƐǁĞŚĂǀĞŝŶĚŝĐĂƚĞĚƌĞƉĞĂƚĞĚůǇ͕Dƌ͘ůͲZƵŵĂŝŚŝŝƐ
       ĂĐŝƚŝǌĞŶŽĨYĂƚĂƌĂŶĚƌĞƐŝĚĞƐŝŶYĂƚĂƌ͘Dƌ͘<ǁĂƚŝŶĞƚǌ͛ƐƐƉĞĐƵůĂƚŝŽŶƚŚĂƚƐƵĐŚŝƐŶŽƚƚŚĞĐĂƐĞŝƐĂƐǁƌŽŶŐ
       ĂƐŝƚŝƐŝŶĂĚŵŝƐƐŝďůĞ͘&ƵƌƚŚĞƌ͕ƚŚĞƌĞŝƐŶŽƚŚŝŶŐŶĞĨĂƌŝŽƵƐĂďŽƵƚŚŝƐƌĞƚƵƌŶƚŽƚŚĞŽƵŶƚƌǇǁŚĞƌĞŚĞ
       ƌĞƐŝĚĞƐ͘ŶĚǇŽƵƌƐƵŐŐĞƐƚŝŽŶƚŚĂƚDƌ͘ůͲZƵŵĂŝŚŝƐŽŵĞŚŽǁůĞĨƚƚŚĞhŶŝƚĞĚ^ƚĂƚĞƐƚŽĂǀŽŝĚďĞŝŶŐ
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ĚĞƉŽƐĞĚŝƐďŽƚŚŵŝƐƚĂŬĞŶĂŶĚŶŽŶƐĞŶƐŝĐĂů͘Dƌ͘ůͲZƵŵĂŝŚŝƚƌĂǀĞůĞĚƚŽŚŝƐƌĞƐŝĚĞŶĐĞŝŶYĂƚĂƌďĞĨŽƌĞǇŽƵ
ƌĞƋƵĞƐƚĞĚƚŽĚĞƉŽƐĞŚŝŵ͘dŚĞƚŝŵĞͲƐƉĂĐĞĐŽŶƚŝŶƵƵŵďĞůŝĞƐǇŽƵƌĂƐƐĞƌƚŝŽŶ͘
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dŚĂŶŬǇŽƵ͘
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&ƌŽŵ͗ĂǀŝĚƌŝŬƐŽŶфĞƌŝŬƐŽŶΛŐĞƌĂŐŽƐ͘ĐŽŵх
^ĞŶƚ͗dŚƵƌƐĚĂǇ͕DĂǇϭϳ͕ϮϬϭϴϭ͗ϯϬWD
dŽ͗,ĞƌƐŚŵĂŶ͕ƌŝĂŶ͘фďŚĞƌƐŚŵĂŶΛ:ŽŶĞƐĂǇ͘ĐŽŵх
Đ͗ĞŶDĞŝƐĞůĂƐфŵĞŝƐĞůĂƐΛŐĞƌĂŐŽƐ͘ĐŽŵх
^ƵďũĞĐƚ͗ZĞ͗DĞĞƚĂŶĚŽŶĨĞƌƌĞŝŐϯŶƚŝͲ^ůĂƉƉĚŝƐĐŽǀĞƌǇ
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+L%ULDQ
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,GRQ¶WPHDQWRSHVWHUEXW,¶PKRSLQJ\RXFDQJHWEDFNWRPHVRRQ,IZHQHHGWREULQJD
PRWLRQDQGDSSOLFDWLRQZHZDQWWRGRVRDVVRRQDVSRVVLEOH7KDQNV
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        2Q0D\DW$0'DYLG(ULNVRQHULNVRQ#JHUDJRVFRP!ZURWH
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        :HGRQ¶WEHOLHYHWKDWLQWHUURJDWRULHVZRXOGEHVXIILFLHQW$V\RXNQRZWKHLQIRUPDWLRQZH
        FRXOGH[SHFWWRHOLFLWYLDLQWHUURJDWRULHVLVIDUOHVVFRPSUHKHQVLYHWKDQZKDWZHFRXOGOHDUQLQ
        HYHQDVKRUWGHSRVLWLRQ²HVSHFLDOO\JLYHQWKDWWKHUHZRXOGEHQRPHDQLQJIXORSSRUWXQLW\WR
        FKDOOHQJHXQVXSSRUWDEOHREMHFWLRQVRUHYDVLYHUHVSRQVHV7KHVKRUWFRPLQJRIZULWWHQ
        GLVFRYHU\DUHHYHQJUHDWHULQWKLVLQVWDQFHEHFDXVHWKHIDFWVZHVHHNWRGLVFRYHUDUHFRPSOH[
        UHTXLULQJSURELQJTXHVWLRQLQJDQGIROORZXS
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        %\RIIHULQJWRUHVSRQGWRLQWHUURJDWRULHVSURSRXQGHGWR0U$O5XPDLKL\RXHIIHFWLYHO\
        FRQFHGHWKDWGLVFRYHU\SURSRXQGHGWR0U$O5XPDLKLLVUHTXLUHGLQDLGRIRXURSSRVLWLRQWR
        WKHPRWLRQWRVWULNH:HDUHHQWLWOHGWRFRQGXFWWKDWGLVFRYHU\LQDPHDQLQJIXOZD\
        
       :LWKUHJDUG\RXUFOLHQW
VUHWXUQWR4DWDU,QRWHWKDWDGHSRVLWLRQDQGKHDULQJRQWKHPRWLRQ
       FRXOGFHUWDLQO\ZDLWXQWLOKLVUHWXUQ,W¶VDOVRSRVVLEOHWKDWZHFRXOGSURFHHGLQ4DWDU%XWDVD
       WKUHVKROGPDWWHUFDQ\RXWHOOPHZKHQDQGZK\KHOHIWWKH86"&HUWDLQO\LWLVXQIDLUIRUD
       SDUW\WRFUHDWHDQOHJXSZLWKUHVSHFWWRDQ$QWL6ODSSPRWLRQE\PDNLQJKLPVHOIXQDYDLODEOH
       IRUGHSRVLWLRQ,WZDVFHUWDLQO\IRUHVHHDEOHWKDWLQUHVSRQVHWRDQDQWLVODSSPRWLRQP\FOLHQWV
       ZRXOGVHHNWRGLVFRYHUDGPLVVLEOHHYLGHQFHWRVXSSRUWLWVDOOHJDWLRQV%HFDXVH0U$O
       5XPDLKLLVWKHEHVWVXLWHGGHSRQHQWDQGJLYHQRXUEHOLHIZDVWKDWKHZDVLQWKLVFRXQWU\
       LQGHILQLWHO\LWFRXOGDSSHDUWKDWKHOHIWWKH86WRDYRLGEHLQJGHSRVHG
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        8QGHUWKHFLUFXPVWDQFHVZHDVNDJDLQWKDW\RXSURSRVHVROXWLRQVWKDWZRXOGDOORZXVWR
        FRQGXFWDVKRUWDQGWDUJHWHGGHSRVLWLRQRI0U$O5XPDLKSULRUWRP\FOLHQWVEHLQJFDOOHG
        XSRQWRSURYLGHHYLGHQWLDU\VXSSRUWIRUWKHLUFODLPV
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                2Q0D\DW30+HUVKPDQ%ULDQ'
                EKHUVKPDQ#-RQHV'D\FRP!ZURWH
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                ĂǀŝĚ͕
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             
            Dƌ͘ůͲZƵŵĂŝŚŝŝƐƵŶĂǀĂŝůĂďůĞĨŽƌĚĞƉŽƐŝƚŝŽŶĂƐŚĞŝƐŝŶYĂƚĂƌ;ǁŚĞƌĞŚĞ
            ƌĞƐŝĚĞƐͿ͘DŽƌĞŽǀĞƌ͕ǁĞĚŽŶŽƚďĞůŝĞǀĞĂĚĞƉŽƐŝƚŝŽŶŝƐǁĂƌƌĂŶƚĞĚ͘
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            ,ŽǁĞǀĞƌ͕ŝŶĂŐŽŽĚĨĂŝƚŚĞĨĨŽƌƚƚŽƌĞƐŽůǀĞƚŚĞĚŝƐƉƵƚĞ͕Dƌ͘ůͲZƵŵĂŝŚŝ
            ǁŝůůƌĞƐƉŽŶĚƚŽǁƌŝƚƚĞŶŝŶƚĞƌƌŽŐĂƚŽƌŝĞƐ;ŶŽŵŽƌĞƚŚĂŶĨŝĨƚĞĞŶƚŽƚĂů͖
            ƐƵďƉĂƌƚƐĂŶĚĐŽŵƉŽƵŶĚƋƵĞƐƚŝŽŶƐǁŝůůĐŽƵŶƚƚŽǁĂƌĚƚŚĞĨŝĨƚĞĞŶƚŽƚĂů
            ƉƵƌƐƵĂŶƚƚŽ&ZWϯϯͿůŝŵŝƚĞĚƚŽƚŚĞŝƐƐƵĞƐƌĂŝƐĞĚŝŶƚŚĞŶƚŝͲ^>WW
            ŵŽƚŝŽŶ͘tĞĚŽŶŽƚďĞůŝĞǀĞƚŚĂƚĚŝƐĐŽǀĞƌǇŝƐĂƉƉƌŽƉƌŝĂƚĞŽŶƚŚĞ
            ũƵƌŝƐĚŝĐƚŝŽŶĂůŝƐƐƵĞƐĂƐĚŝǀĞƌƐŝƚǇũƵƌŝƐĚŝĐƚŝŽŶƉƌĞƐĞŶƚƐĂůĞŐĂůƋƵĞƐƚŝŽŶĨŽƌ
            ƚŚĞƌĞĂƐŽŶƐƐƚĂƚĞĚŝŶŽƵƌŽƉƉŽƐŝƚŝŽŶƚŽƚŚĞĞǆƉĂƌƚĞĂƉƉůŝĐĂƚŝŽŶ͘
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            tĞĂƌĞŶŽƚǁŝůůŝŶŐƚŽĐŽŶƚŝŶƵĞƚŚĞŚĞĂƌŝŶŐŽŶƚŚĞŶƚŝͲ^>WW
            ŵŽƚŝŽŶ͘ƐǁĞŚĂǀĞĐŽŶƐŝƐƚĞŶƚůǇƐƚĂƚĞĚ͕ƉƌŽŵƉƚƌĞƐŽůƵƚŝŽŶŽĨƚŚĂƚ
            ŵŽƚŝŽŶŝƐĐŽŶƐŝƐƚĞŶƚǁŝƚŚƚŚĞůĞŐŝƐůĂƚŝǀĞŝŶƚĞŶƚďĞŚŝŶĚƚŚĞŶƚŝͲ^>WW
            ƐƚĂƚƵƚĞ͘ĐĐŽƌĚŝŶŐůǇ͕ǁĞƉƌŽƉŽƐĞƚŚĞĨŽůůŽǁŝŶŐƐĐŚĞĚƵůĞ͗
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                 ϭ͘WůĂŝŶƚŝĨĨƐƚŽƐĞƌǀĞǁƌŝƚƚĞŶŝŶƚĞƌƌŽŐĂƚŽƌŝĞƐƚŽDƌ͘ůͲZƵŵĂŝŚŝǀŝĂ
                         ĞŵĂŝůƚŽ:ŽŶĞƐĂǇďǇĐůŽƐĞŽĨďƵƐŝŶĞƐƐŽŶ&ƌŝĚĂǇ͕DĂǇϭϴ͕ϮϬϭϴ͘
                 Ϯ͘Dƌ͘ůͲZƵŵĂŝŚŝƚŽƉƌŽǀŝĚĞŚŝƐƌĞƐƉŽŶƐĞƐĂŶĚŽďũĞĐƚŝŽŶƐƚŽƚŚĞ
                         ǁƌŝƚƚĞŶŝŶƚĞƌƌŽŐĂƚŽƌŝĞƐďǇĞŵĂŝůƚŽ'ĞƌĂŐŽƐΘ'ĞƌĂŐŽƐďǇĐůŽƐĞ
                         ŽĨďƵƐŝŶĞƐƐŽŶdƵĞƐĚĂǇ͕DĂǇϮϮ͕ϮϬϭϴ͘
            
            WůĞĂƐĞůĞƚƵƐŬŶŽǁƚŚĞƉůĂŝŶƚŝĨĨƐ͛ƉŽƐŝƚŝŽŶ͘dŚĂŶŬǇŽƵ͘
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            &ƌŽŵ͗ĂǀŝĚƌŝŬƐŽŶфĞƌŝŬƐŽŶΛŐĞƌĂŐŽƐ͘ĐŽŵх
            ^ĞŶƚ͗tĞĚŶĞƐĚĂǇ͕DĂǇϭϲ͕ϮϬϭϴϰ͗ϭϯWD
            dŽ͗,ĞƌƐŚŵĂŶ͕ƌŝĂŶ͘фďŚĞƌƐŚŵĂŶΛ:ŽŶĞƐĂǇ͘ĐŽŵх
            Đ͗ĞŶDĞŝƐĞůĂƐфŵĞŝƐĞůĂƐΛŐĞƌĂŐŽƐ͘ĐŽŵх
            ^ƵďũĞĐƚ͗ZĞ͗DĞĞƚĂŶĚŽŶĨĞƌƌĞŝŐϯŶƚŝͲ^ůĂƉĚŝƐĐŽǀĞƌǇ
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            +L%ULDQ
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            7KDQNVIRUJHWWLQJEDFNWRPH:HVHHNDVKRUWDQGWDUJHWHG
            GHSRVLWLRQRI0UDO5XPDLKLKRXUVZRXOGEHVXIILFLHQW,W
            FRXOGFRYHURXUUHTXHVWHGMXULVGLFWLRQGLVFRYHU\DVZHOOLI\RX
            ZHUHLQFOLQHGWRFKDQJH\RXUSRVLWLRQRQWKDWLVVXH,¶PKRSLQJ
            \RXZLOOVWLSXODWHWRVXFKDGHSRVLWLRQLQDGYDQFHRIRXURSSRVLQJ
            \RXUFOLHQW¶VPRWLRQWRVWULNHZKLFKZRXOGSUREDEO\UHTXLUHD
            IXUWKHUFRQWLQXDQFHRIWKHKHDULQJ
            
            8QOHVV\RXDUHZLOOLQJWRVWLSXODWH,¶PKRSLQJZHFDQWDONWRGD\
            RUWRPRUURZUHJDUGLQJRXUDUJXPHQWWKDWJRRGFDXVHH[LVWVIRU
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                 2Q0D\DW30+HUVKPDQ%ULDQ'
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                 &DQ\RXVHQGPHWKHGLVFRYHU\\RXSURSRVHWRWDNH
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                 \RXDYDLODEOHWRGD\WRPHHWDQGFRQIHUUHJDUGLQJ
                 RXUUHTXHVWWREHDIIRUGHGDQRSSRUWXQLW\WRFRQGXFW
                 QDUURZO\WDUJHWHGGLVFRYHU\LQVXSSRUWRIRXU
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                 David Erikson
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                 ORJRMSJ!
                 Historic Engine Co. No. 28
                 644 South Figueroa Street
                 Los Angeles, California 90017-3411
                 Telephone (213) 625-3900
                 Facsimile (213) 232-3255
                 www.Geragos.Com     
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